Case 1:20-cv-06516-VM Document 58-4 Filed 09/25/20 Page 1 of 5

UNITED STATES
B POSTAL SERVICE

September 21, 2020

OFFICERS, PCES, AND PAY BAND MANAGERS

SUBJECT: Clarifying Operational Instructions

The number one priority for Postmaster General DeJoy and the Postal Service between now and
Election Day is the secure and on-time delivery of the nation’s election mail. Effective October 1, 2020,
the Postal Service will make additional resources available in all areas of operations, including collection,
processing, delivery, and transportation, to satisfy increased demand and unforeseen circumstances.
These additional resources will include, as needed, additional staffing, additional transportation, and
expanded mail processing windows and delivery trips, among others. Further guidance on use of
additional resources will be provided separately.

To address any misinformation and clear up any confusion about the status of the Postal Service’s
practices concerning Overtime, Hiring, Retail Hours, Collection Boxes, Late and Extra Trips, Mail
Processing, and Election Mail, these Clarifying Operational Instructions detail practices as they currently
stand related to those topics.

As you may also be aware, a federal district court recently issued an order imposing certain
requirements for the handling of mail. These Instructions are also intended to provide guidance to assist
in carrying out the specific directives required by that order, as they relate to current operational
practices.

The approach to the matters outlined in these Instructions will remain in effect until further notice and
supersede any previous guidance provided on these specific topics that could be seen as conflicting with
these Instructions, whether from Headquarters or the field.

1. Overtime

Postal Service Headquarters has not imposed, and will not impose, any nationwide changes that ban or
newly restrict overtime prior to Election Day. Overtime use has not been banned, nor have any caps
been placed on overtime hours. Front-line supervisors and managers will continue to schedule
employees’ work hours and oversee employee overtime, including planning for any needed
prescheduled overtime, directing unscheduled overtime, and approving employee requests for overtime
work based on the workload. Supervisors will continue to set schedules with the goal of matching the
expected earned work hours with appropriate staffing. Management will continue to monitor the use of
work hours and overtime so that it can identify and address problems that may be the cause of work not
being performed within expected work hours or managed inefficiently.

The Postal Service’s consistent practice in the past is to use justified and approved overtime hours
where needed to deliver the mail on time, and that practice will continue. Overtime has been, and will
continue to be, utilized as necessary to fulfill our mission. As will be discussed in more detail in the
forthcoming guidance regarding the use of additional resources starting on October 1, use of overtime
necessary to expeditiously move Election Mail should be approved.

 
Case 1:20-cv-06516-VM Document 58-4 Filed 09/25/20 Page 2 of 5

2. Hiring

Postal Service Headquarters has not implemented a total hiring freeze. Because of the realignment of
the Postal Service’s reporting structure announced on August 7, 2020, Postal Service Headquarters has
suspended hiring for EAS positions to ensure proper placement of any current employees that may be
impacted by the restructuring. Although hiring of EAS positions has been suspended, there is a process
in place to request exceptions to fill critical EAS positions.

The suspension of EAS hiring does not impact the filling of craft positions. Craft positions will continue
to be filled pursuant to the applicable collective bargaining agreement. The Postal Service has hired,
and will continue to hire, new employees to address staffing shortages caused by the COVID-19
pandemic and otherwise.

3. Retail Hours

Postal Service Headquarters has not directed or authorized a reduction in retail window hours.
Evaluating retail hours is part of an annual process to optimize the Postal Service retail network. The
Postal Service was in the process of gathering data to make decisions regarding retail hours based on
customer demand. Given both congressional and public concern, the Postal Service will not be
adjusting retail hours prior to the November 2020 elections.

There may be unforeseen circumstances beyond the Postal Service’s control that necessitate the
temporary change of retail hours or the temporary closure of a retail facility such as natural disasters, or
conditions that reduce employee availability or create an unsafe environment for employees like the
COVID-19 pandemic or civil unrest. However, local managers are not permitted to reduce retail hours
without review and approval by both Area and Headquarters management.

There are Village Post Offices (VPO) and Contract Postal Units (CPU) that on occasion decide to
terminate their contract or close due to uncontrollable circumstances. If the Postal Service is unable to
negotiate an extension of services with these non-postal entities, there is no choice but to honor the
contract termination. The Postal Service is currently in communication with those VPOs and CPUs that
have indicated they intend to terminate their services prior to the November 2020 elections to determine
whether an arrangement can be made to extend their services until after the elections.

4. Collection Boxes

Pursuant to the Postmaster General's August 18, 2020 directive, the Postal Service has suspended the
removal of any additional collection boxes until after the 2020 elections. The Postal Service regularly
reviews the need for, and location of, collection boxes in accordance with the Postal Service Postal
Operations Manual. The purpose of these reviews is to ensure that mail collection within areas served
by letter carriers is accomplished in a cost-efficient manner, while still meeting customers’ needs. Over
the last seven years, the Postal Service has removed an average of 3,100 collection boxes per year.
This year, approximately 1,500 collection boxes have been removed.

Although the Postmaster General has suspended the removal of collection boxes between now and the
November 2020 elections, it is important to note that there are instances where removal of a collection
box is necessary. In the event of extreme weather conditions, collection boxes may be removed or
covered to prevent damage. During events that involve national security, collection boxes along the
transportation route may be temporarily removed for public safety. Similarly, localized events such as
wildfires or civil unrest may necessitate a temporary removal of a collection box. These removals are
temporary and collection boxes must be returned as soon as possible.
Case 1:20-cv-06516-VM Document 58-4 Filed 09/25/20 Page 3 of 5

Between now and the November 2020 elections, it is critical that, if any collection boxes are damaged
(for example, by hurricane or a car accident) and taken out of service, that they be replaced as soon as
possible. If a collection box is in an area that is restricted for security or safety reasons, any request to
cover or remove a collection box must be raised through appropriate communication channels.
Communication between local office and District/Area/Headquarters channels is critical.
Postmaster/Station Managers must notify their District Manager when there is an issue with a collection
box. District Managers must notify Area Retail & Delivery Operations Vice Presidents, who must notify
the Vice President of Delivery Operations to ensure all leadership is aware of the issue and can oversee
the removal and subsequent replacement of the collection box.

Postal Service Headquarters is not planning to reinstall collection boxes that were removed as part of its
routine review prior to the Postmaster General's statement concerning operational commitments issued
on August 18, 2020. To be clear however, no additional collection boxes should be removed until after
the election, other than on a temporary basis, and only for the reasons described herein.

5. Late and Extra Trips

Adherence to transportation schedules has long been a priority of the Postal Service. Because
noncompliance with transportation schedules was a chronic problem that was causing late deliveries and
unnecessary costs, there has been an organizational focus on adhering to the transportation schedules
over the last two years.

After the Postmaster General took office, he reemphasized the need to ensure that the Postal Service’s
trucks run on time and on schedule, with the goal of mitigating unnecessary late and extra trips. This
effort does not mean that mail should be left behind, (it should not), but rather that processing schedules
should align with transportation schedules. Moreover, the Postmaster General has not banned the use
of late or extra trips; when operationally required, late or extra trips are permitted.

Consistent with the court order referenced above, transportation, in the form of late or extra trips that are
reasonably necessary to complete timely mail delivery, is not to be unreasonably restricted or prohibited.
Managers are authorized to use their best business judgment to meet our service commitments.

6. Mail Processing

Pursuant to the Postmaster General’s August 18, 2020 directive, and consistent with the order of the
federal district court, no mail processing facilities will be closed or consolidated until after the November
2020 elections. Moreover, the Postal Service has suspended all removal of letter and flat sorting
machines until after the November 2020 elections. During Fiscal Year 2020, approximately 700 letter
and flat sorting machines were disconnected and/or removed. These reductions were made pursuant to
volume modeling and equipment reduction targets for various mail processing equipment sent to the
Area Vice Presidents for review and implementation on May 15, 2020, consistent with longstanding
Postal Service practice. The reduction targets, which were based on significant volume reductions in
letter and flats mail volume, and with the further decline due to COVID-19, were broad targets for
reduction, with the final decisions regarding machine removal being determined after discussions
between local management and Headquarters. Postal Service Headquarters has determined not to
make any further removal of equipment until after the November 2020 elections.

Because removed machines are generally dissembled for their usable parts, with such parts being
removed to maintain or enhance other machines, there is no current plan to return removed machines to
service. Over the past month, however, a limited number of machines that were disconnected, but not
dismantled and removed, have been put back into service. We have more than sufficient Capacity to
process current and anticipated mail volumes with the existing machine fleet.

 
Case 1:20-cv-06516-VM Document 58-4 Filed 09/25/20 Page 4 of 5

As of September 18, 2020, Headquarters has approved all requests to reconnect machines directed to
the Headquarters Director of Processing Operations and has provided Regional Vice Presidents with
authority to reconnect machines where doing so is necessary. Specifically, if it is determined that it is
necessary to add processing capacity to fulfill our service commitments with regard to Election Mail,
available processing equipment will be returned to service. Any requests to reconnect a sorting machine
reduced since June 2020, because it is believed that the machine is necessary to ensure the timely
processing and delivery of Election Mail should be made by the relevant installation head to the relevant _
Regional Vice President. Any.request will be processed within three days, as required by the order of
the federal district court.

7. Election Mail

The Postal Service and Postmaster General DeJoy have repeatedly reaffirmed their commitment to the
timely delivery of Election Mail. Election Mail is defined as “any item mailed to or from authorized
election officials that enables citizens to participate in the voting process.” This includes ballots, voter
registration forms, ballot applications, polling place notifications, and similar materials. This specific mail
qualifies as Election Mail both when it is sent to voters from election officials at the state and local levels
and when it is returned by voters to those officials. This is distinct from “political mail,” which is sent by
political candidates, political action committees, and similar organizations in order to engage in issue
advocacy or to advocate for candidates or other things, such as initiatives, that may appear on a ballot.
See Postal Bulletin 22551, July 30, 2020, at 4.

Consistent with the court order referenced above, we will continue to prioritize Election Mail that is
entered as Marketing Mail regardless of the paid class. Election Mail identified by the official Election
Mail logo or other Postal Service visibility tools will continue to be prioritized pursuant to our long-
standing practice. In that regard, please continue to use standardized log sheets to track Election Mail
through processing and continue to conduct daily “all clears” as previously instructed to ensure that all
Election Mail is accounted for in the system and mail scheduled or “committed” to go out is processed
accordingly. Election Mail entered as Marketing Mail should be advanced ahead of all other Marketing
Mail and processed expeditiously to the extent feasible so that it is generally delivered in line with the
First-Class Mail delivery standards. In that regard, to the extent necessary, please expand processing
windows on letter and flat sorting equipment to ensure that all Election Mail received prior to the First-
Class Mail Critical Entry Time is processed that same day. Please also continue to prioritize Election
Mail, including ballots entered with Green Tag 191, when loading trucks.

Consistent with our long-standing practice, we recognize that it is sometimes not operationally feasible to
deliver Election Mail entered as Marketing Mail in line with First-Class Mail delivery standards. This is
particularly true with respect to Election Mail Marketing Mail volume that would require air transportation
to meet First-Class Mail delivery standards, as this volume typically travels through our ground
transportation network, and our systems do not permit Marketing Mail to travel by air. We intend to seek
Clarification on this item, to make sure that the court understands this limitation and that it is consistent
with the court’s order.

8. Nationwide Changes in Service

Under the applicable law, the Postal Service cannot make changes to the nature of Postal Services
without first seeking an advisory opinion from the Postal Regulatory Commission. Consistent with the
order of the federal district court referenced above, the Postal Service will not make any changes to our
retail, delivery or processing operations, that will generally affect service on a nationwide, or substantially
nationwide, basis, prior to the upcoming national election.

 
Case 1:20-cv-06516-VM Document 58-4 Filed 09/25/20 Page 5of5

Thank you for your attention. If you have any questions regarding Logistics and Processing Operations,
please contact Mike Barber, Vice President, Processing and Maintenance Operations. If you have any
questions regarding Retail and Delivery Operations, please contact Joshua Colin, Vice President,
Delivery Operations or Angela Curtis, Retail and Post Office Operations.

We are continuing to evaluate our legal obligations and will circulate updates as necessary.

Kristin A. Seaver DavidtE“Williams

Chief Retail & Delivery Officer Chief Logistics & Processing Operations
and Executive Vice President Officer and Executive Vice President
